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                                                   9

                                                  10
                                                                                   UNITED STATES DISTRICT COURT
                                                  11
                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                  12
                                                                                       SAN FRANCISCO DIVISION
              101 CALIFORNIA STREET, SUITE 3800




                                                  13
                    SAN FRANCISCO, CA 94111




                                                     IN RE GOOGLE PLAY STORE                          Case No. 3:21-md-02981-JD
VENABLE LLP




                                                  14 ANTITRUST LITIGATION
                         415.653.3750




                                                                                                      NON-PARTY WARNER BROS.
                                                  15 THIS DOCUMENT RELATES TO:                        DISCOVERY, INC.’S REQUEST TO
                                                                                                      SEAL HIGHLY CONFIDENTIAL
                                                  16   Epic Games, Inc. v. Google LLC et al.,         INFORMATION
                                                       Case No. 3:20-cv-05671-JD
                                                  17                                                  Honorable James Donato

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                                                         Case Nos. 3:21-md-02981-JD,                                  REQUEST TO SEAL HIGHLY
                                                         3:20-cv-05671-JD                                           CONFIDENTIAL INFORMATION
                                                         Case 3:21-md-02981-JD Document 762 Filed 11/08/23 Page 2 of 4



                                                   1          Non-party Warner Bros. Discovery, Inc. (“WBD”) respectfully moves under Civil Local
                                                   2   Rule 79-5 and the Court’s Order, D.I. 727, to seal a small number of trial exhibits that contain
                                                   3   WBD confidential information and to seal the courtroom for limited portions of testimony related
                                                   4   to such WBD confidential information.
                                                   5          On November 7, 2023, Google LLC (“Google”) provided notice to WBD that certain
                                                   6   documents that may contain WBD confidential information had been identified as trial exhibits to
                                                   7   be used in open court the next day, November 8, 2023. These documents comprise information
                                                   8   that has been designated by one or more of the parties as NON-PARTY HIGHLY
                                                   9   CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY under the Protective Order. D.I. 248.
                                                  10   The Protective Order generally requires at least four business days’ notice of the intent to use such
                                                  11   material at trial; WBD was provided just one day’s notice. Moreover, Google did not provide
                                                  12   WBD copies of the trial exhibits until 1:22 p.m. PST on November 7, 2023, less than four hours
              101 CALIFORNIA STREET, SUITE 3800




                                                  13   before WBD’s deadline to submit this motion to seal. See D.I. 727.
                    SAN FRANCISCO, CA 94111
VENABLE LLP




                                                  14          If Google or any other party to the litigation is permitted to proceed with using the trial
                         415.653.3750




                                                  15   exhibits and testimony concerning them, WBD respectfully requests that the Court seal the trial
                                                  16   exhibits and temporarily seal the courtroom during testimony concerning the trial exhibits. WBD
                                                  17   recognizes the strong public interest in access to trial proceedings and judicial records.
                                                  18   Nonetheless, sealing of judicial records is appropriate when “compelling reasons” overcome that
                                                  19   presumption. See Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006).
                                                  20   Non-party interests in confidential information are particularly strong. See In re Adobe Systems,
                                                  21   Inc. Sec. Litigation, 141 F.R.D. 155, 161-62 (N.D. Cal. 1992).
                                                  22          The trial exhibits and testimony concerning them will reveal highly confidential financial
                                                  23   and business information, including WBD revenue data and subscriber information. Throughout
                                                  24   this litigation, WBD as a non-party has consistently and proactively taken steps to protect its
                                                  25   confidential information. For example, in connection with prior motions to seal concerning similar
                                                  26   confidential information, WBD submitted declarations from its Chief Executive Officer and
                                                  27   President of Global Streaming and Games, Jean-Briac Perrette, as well as its Chief Financial and
                                                  28   Strategy Officer for Streaming, Joshua Walker, explaining the sensitivity of such information and
                                                                                                          1
                                                         Case No. 3:21-md-02981-JD,                                           REQUEST TO SEAL HIGHLY
                                                         3:20-cv-05671-JD                                                   CONFIDENTIAL INFORMATION
         Case 3:21-md-02981-JD Document 762 Filed 11/08/23 Page 3 of 4



 1   the harm it would cause WBD if such information were disclosed to competitors or to the public.
                                                                       1
 2 These declarations are attached hereto in support of this motion. See August 16, 2022 Perrette

 3   Declaration ¶¶ 4-10; July 5, 2023 Walker Declaration ¶¶ 4-10; August 1, 2023 Walker Declaration
 4   (D.I. 563) ¶¶ 4-10. These declarations outline the concrete harm that WBD will suffer from the
 5   disclosure of such confidential information, which is sufficient to meet the “compelling reasons”
 6   standard. In re Electronic Arts, 298 Fed. Appx. 568, 569 (9th Cir. 2008); Apple Inc. v. Samsung
 7   Elecs. Co., 727 F.3d 1214, 1226 (Fed. Cir. 2013); Powertech Tech., Inc. v. Tessera, Inc., 2012
 8   U.S. Dist. LEXIS 75831, at *4 (N.D. Cal. May 31, 2012).
 9            Thus, WBD respectfully requests that the following trial exhibits be sealed and for the
10   courtroom to be temporarily sealed during testimony concerning the trial exhibits.
11                    Exhibit             Portion sought        Reasons for sealing request
12               (Bates Number)            to be sealed
            Exhibit 1704-014 (GOOG-      Seal entirety       Includes confidential developer
13          PLAY-004683882.R)                                feedback reflecting business
                                                             strategy from WBD regarding the
14                                                           Google Play store; if competitors
                                                             had this information, they could use
15
                                                             it to unfairly improve their products
16                                                           and to disadvantage WBD
                                                             products.
17          Exhibit 1704-016 (GOOG-      Seal entirety       Includes confidential developer
            PLAY-004683884.R)                                feedback reflecting business
18                                                           strategy from WBD regarding the
                                                             Google Play store; if competitors
19
                                                             had this information, they could use
20                                                           it to unfairly improve their products
                                                             and to disadvantage WBD
21                                                           products.
            Exhibit 1704-019 (GOOG-      Seal entirety       Contains WBD’s confidential
22          PLAY-004683887.R)                                information about the number of
23                                                           subscribers for a WBD app; this
                                                             information is not available outside
24                                                           of WBD; if disclosed it could be
                                                             used to harm WBD’s competitive
25

26   1
     Because WBD was not given sufficient notice of any party’s intent to use WBD confidential
27 information at trial and because WBD was not timely provided with copies of the trial exhibits or
   sufficiently detailed descriptions of them, WBD relies on these prior declarations in support of this
28 motion.
                                                         2
         Case Nos. 3:21-md-02981-JD,                                         REQUEST TO SEAL HIGHLY
         3:20-cv-05671-JD                                                  CONFIDENTIAL INFORMATION
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 1                                                        position and provide competitors an
                                                          unfair advantage in the
 2
                                                          marketplace.
 3       Exhibit 2698-052 (GOOG-   Seal entirety          Contains WBD’s confidential
         PLAY-011073577)                                  financial information about revenue
 4                                                        for WBD’s non-game applications;
                                                          this information is not available
 5                                                        outside of WBD; if disclosed it
                                                          could be used to harm WBD’s
 6
                                                          competitive position and provide
 7                                                        competitors an unfair advantage in
                                                          the marketplace.
 8

 9
                                                       Respectfully submitted,
10
     Dated: November 8, 2023                           VENABLE LLP
11
                                                       /s/ Philip T. Sheng
12                                            By:      Philip T. Sheng (SBN 278422)
                                                       David E. Fink
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                                                       Attorneys for Non-Party Warner Bros.
14                                                     Discovery, Inc.
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     Case Nos. 3:21-md-02981-JD,                                       REQUEST TO SEAL HIGHLY
     3:20-cv-05671-JD                                                CONFIDENTIAL INFORMATION
